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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_______________________________________________

UNITED STATES OF AMERICA,



                                      Plaintiff,

                                                                     DECISION AND ORDER

                                                                     03-CR-6142L
                                                                     05-CV-6618L
                       v.

FRANKLIN GRAHAM,



                              Defendant.
________________________________________________


       Franklin Graham (“Graham”) has filed a petition, pro se, pursuant to 28 U.S.C. § 2255 to

vacate his conviction entered March 23, 2005. The Government responded to the petition and has

moved to dismiss. For the reasons advanced by the Government, the petition is in all respects

dismissed.

       Graham was indicted with others in a multi-count indictment charging narcotics and related

offenses. Count I charged conspiracy to possess with intent to distribute and to distribute 5

kilograms or more of cocaine, 50 grams or more of cocaine base, 100 grams or more of heroin and

a quantity of marijuana in violation of 21 U.S.C. § 846.

       On November 5, 2004, Graham pleaded guilty to Count I, conspiracy to possess with intent

to distribute 50 grams or more of cocaine base. In the written plea agreement, the parties agreed to

many of the sentencing factors. The anticipated sentencing range was 168-210 months pursuant to
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the Sentencing Guidelines. The plea was submitted to the Court pursuant to Rule 11(c)(1)(C) with

an agreed specific sentence of 180 months. At sentencing, the Court accepted the Rule 11(c)(1)(C)

committed sentence and sentenced Graham principally to 180 months. Graham did not directly

appeal but filed this petition approximately six months after the sentencing proceedings. I n t h e

petition, Graham states that the “sole issue” presented is whether trial counsel provided ineffective

assistance of counsel for advising Graham to plead guilty and for not challenging the Court’s

sentence which Graham believes was in excess of the statutory maximum allowed. For several

reasons, the petition must be dismissed on both procedural and substantive grounds.

       First of all, the detailed plea agreement that Graham executed specifically contained both a

waiver of appeal and a waiver of the right to pursue collateral relief. Graham obtained the benefits

of the plea agreement and cannot now seek to ignore those portions of the agreement that do not

presently suit him. At the time of the plea, the Court specifically discussed the appeal waiver with

Graham, and he affirmed his understanding concerning the matter.

       Furthermore, Graham may not use § 2255 to raise issues that could have been raised on

appeal. He has, therefore, procedurally defaulted his right to pursue any claim under § 2255. The

fact that Graham waived his right to appeal does not give him the ability to prosecute appellate issues

under § 2255.

       Aside from these procedural hurdles, Graham cannot prevail on the claim of ineffective

assistance of counsel because the substance of his claim -- that the Court lacked jurisdiction to

impose a 180 month sentence -- is flawed. In essence, Graham claims that because the indictment

charges that he conspired to possess and distribute different types of drugs, e.g., cocaine, heroin and



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marijuana, the Court was limited to imposing a sentence no greater than the maximum sentence for

the least serious crime, in this case, conspiracy to distribute marijuana. Graham claims that because

conspiracy to distribute marijuana contains only a 60 month maximum term, the Court’s 180 month

sentence was improper. Unfortunately, for Graham, he completely misstates what occurred in his

case and the authority that he relies on, United States v. Orozco-Prada, 732 F.2d 1076 (2d Cir. 1984)

is inapposite. The simple fact is that Graham did not plead to conspiracy relating to marijuana. The

plea agreement could not have been clearer. Paragraph 1 of the plea agreement specifically recited

that Graham agreed to plead guilty to conspiracy to possess with intent to distribute 50 grams or

more of cocaine base and recited that that charge carried a mandatory minimum sentence of 10 years

and a maximum term of life imprisonment. The factual basis at ¶ 5 again referenced the fact that

Graham participated in a conspiracy and that at least 50 grams of cocaine base was involved. Again,

at ¶ 6, the defendant acknowledged that he, with others, conspired to distribute 50 grams or more of

cocaine base and that Graham agreed that between 150 and 500 grams of cocaine base was the

relevant conduct.

       This is not a case, therefore, where multiple drugs were charged and it was unclear which

drug was involved. Orozco-Prada was an entirely different situation. There the jury found the

defendant guilty of a conspiracy charge where multiple drugs were alleged. Because there was no

special verdict, it was impossible to determine whether the jury had unanimously convicted the

defendant of the more serious cocaine charge or the less serious marijuana one. That, of course, is

not what happened in Graham’s case. The issue now raised by Graham was not raised at the time

of the plea or sentencing by either Graham or his attorney. Graham’s present claim that his counsel



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was “ineffective” for not challenging the plea and sentence is without merit. To prevail on a claim

of ineffective assistance of counsel, a defendant must show that counsel’s performance was deficient

and that that performance prejudiced his case. See Strickland v. Washington, 466 U.S. 668 (1984).

Graham fails to meet either test here. Graham cannot show that his trial counsel’s performance was

deficient. Graham’s premise that the Court lacked jurisdiction to impose the 180 month sentence

is simply wrong. There was no confusion as to what part of the statute Graham was pleading to.

There were multiple references to the fact the plea was to conspiracy relating to cocaine base. The

nature of the drug and the quantities were discussed extensively during the plea colloquy. Counsel’s

performance was not deficient.

       Furthermore, Graham received a substantial benefit by entering the plea. Although a 180

month sentence is not insignificant, if convicted after trial, he could have faced life in prison and,

in this case, in consideration of the plea, the Government did not file an information under 21 U.S.C.

§ 851. If the Government had done so, it would have dramatically increased the minimum sentence

applicable to Graham.

       Graham has failed to demonstrate that his trial counsel’s performance was in any respect

deficient, and he has failed to demonstrate how counsel’s performance prejudiced him in any way.



                                          CONCLUSION

       The petition of Franklin Graham to vacate the judgment and conviction, pursuant to 28

U.S.C. § 2255 is hereby dismissed. There is no need for an evidentiary hearing on the petition.




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       I decline to issue a certificate of appealability because Graham has failed to make a

substantial showing of the denial of a constitutional right. 28 U.S.C. § 2253(c).

       IT IS SO ORDERED.



                                      _______________________________________
                                               DAVID G. LARIMER
                                             United States District Judge


Dated: Rochester, New York
       January 20, 2006.




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